United States District Court
Northern District of California

Case 3:25-cr-00126-CRB Document 22 Filed 05/28/25 Pagelofi1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

USA, Case No. 25-cr-00126-CRB-1

Plaintiff,
ORDER FOR RELEASE FROM
Ms UNITED STATES MARSHAL

CUSTODY
KENNETH W. MATTSON,

Defendant.

The defendant is ordered released from the custody of the United States Marshal

pursuant to the terms of a bond.

IT IS SO ORDERED.
Dated: May 28, 2025

ALEX G. TSE
United States Magistrate Judge

